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 6
                                  UNITED STATES DISTRICT COURT
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9
      LITING WANG and YUHUO WANG                         Case No.: 2-20-cv01876-JAM- D B
10
                         Petitioners,                    (Sacramento County Superior Court Case No.:
11                                                       34-2019-80003279)
              v.
12
      CITY OF SACRAMENTO, CITY
13    COUNCIL OF THE CITY OF                          STIPULATION TO REMAND REMOVED
      SACRAMENTO; and DOES 1 through                  ACTION; ORDER THEREON
14    100, inclusive,
15                       Respondents.
16    _______________________________
17    CITY OF SACRAMENTO POLICE
      DEPARTMENT; DANIEL HAHN, in his
18    official capacity as Chief of Police for the
      City of Sacramento,
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20                       Real Parties in Interest.
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            LITING WANG and YUHUO WANG (“Petitioners”) and the CITY OF
24
     SACRAMENTO, CITY COUNCIL OF THE CITY OF SACRAMENTO, and DOES 1 through
25
     100, inclusive, and CITY OF SACRAMENTO POLICE DEPARTMENT and DANIEL HAHN,
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     in his official capacity as Chief of Police for the City of Sacramento, Real Parties in Interest,
27
     (collectively “Respondents”) stipulate as follows:
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                                                        1
                       STIPULATION TO REMAND REMOVAL ACTION; ORDER THEREON
 1         1.    On December 6, 2019, Petitioners filed a Petition for Writ of Mandamus in the
 2 Superior Court of the State of California in and for the County of Sacramento.

 3         2.    On September 1, 2020, Petitioners filed a First Amended Writ of Mandamus alleging
 4 federal causes of action. (See Exhibit A.)

 5         3.    On September 23, 2020, Respondents filed a Notice of Removal of Action pursuant to
 6 U.S.C. § 1441(b) with the United States District Court for the Eastern District of California.

 7         4.    After some discussion and upon Petitioners’ removal of all federal causes of
 8 action from the Writ (See Exhibit B), the Parties have agreed that the Action should be

 9 remanded to the Sacramento County Superior Court. To that end, the Parties hereby

10 stipulate that the Action be remanded to Sacramento County Superior Court.

11         5.    The Parties further stipulate that each Party shall bear its own attorneys’ fees
12 and costs with respect to the Removal and subsequent Remand of the Action pursuant to

13 this Stipulation and Order.

14
     Dated: 11/5/2020
15                                                         SUSANA ALCALA WOOD
                                                           City Attorney
16

17                                               By:        /s/ Melissa D. Bickel
                                                           Melissa D. Bickel (SBN 209914)
18
                                                           Senior Deputy City Attorney
19                                                         915 I Street, Room 4010
                                                           (916) 808-5346
20                                                         Attorneys for Respondents
21

22
                                                           DONATO LEGAL GROUP
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24                                                          /s/ Alan J. Donato
                                                           Alan J. Donato (SBN 264755)
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                                                           Sacramento, CA 94833
26
                                                           (916) 716-7177
27                                                         Attorney for Petitioners
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                                                       2
                       STIPULATION TO REMAND REMOVAL ACTION; ORDER THEREON
 1                                              ORDER
 2
           On November 4, 2020, the Parties to the above-referenced Action filed a
 3
     Stipulation to Remand Removal Action. The Court having reviewed the Stipulation and
 4
     good cause appearing, orders as follows:
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 6             1. The Parties’ Stipulation is approved; and
 7             2. Eastern District of California case number: 2-20-cv01876-JAM- D B is hereby
 8                remanded to the Sacramento County Superior Court.

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     IT IS SO ORDERED.
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12   DATED: November 6, 2020                    /s/ John A. Mendez
13                                              THE HONORABLE JOHN A. MENDEZ
                                                UNITED STATES DISTRICT COURT JUDGE
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                     STIPULATION TO REMAND REMOVAL ACTION; ORDER THEREON
